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  Potter Anderson & Corroon LLP
  1313 N. Market Street, 6th Floor
  Wilmington, DE 19801-6108
  302.984.6000
  potteranderson.com

                                                                                            Jesse L. Noa
                                                                                                  Partner
                                                                                jnoa@potteranderson.com
                                                                                     Direct 302.984.6146


                                             June 3, 2024

  VIA ELECTRONIC FILING
  The Honorable Gregory B. Williams
  The Honorable Sherry R. Fallon
  U.S. District Court for the District of Delaware
  J. Caleb Boggs Federal Building
  844 N. King Street
  Wilmington, DE 19801

                  Re:      we-do-IT PTY LTD. v. we-do-IT, Inc.
                           C.A. No. 1:23-cv-00820-GBW-SRF

  Dear Judge Williams and Judge Fallon:

                  I write on behalf of the parties to inform the Court that the parties have reached a
  settlement in principle. Accordingly, the parties respectfully request that this proceeding be stayed
  for 30 days upon which time the parties will either submit a stipulation of dismissal or a status
  report.

                  Counsel is available at the Court’s convenience should the Court have any
  questions.


                                                        Respectfully,

                                                        /s/ Jesse L. Noa

                                                        Jesse L. Noa (#5973)


  JLN/caw:11514643
